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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 VENEZUELA US SRL,                                       Civil Action No. 1:22-cv-03822-JMC

                                Petitioner,

                   v.

 BOLIVARIAN REPUBLIC OF VENEZUELA,

                                Respondent.




                                       STATUS REPORT

            1. Petitioner Venezuela US SRL (“VUS”) files this Status Report pursuant to the

Court’s June 23, 2023 Order, which directed VUS to file, by July 7, 2023, a status report updating

the Court on the progress of service in this case.

            2. VUS is still in the process of serving Respondent, the Bolivarian Republic of

Venezuela (“Venezuela”).

            3. As noted in Petitioners’ Status Report dated March 21, 2023, ECF No. 8, VUS

commenced this action on December 27, 2022, to recognize and enforce an arbitration award (the

“Award”), dated November 4, 2022, rendered in VUS’s favor and against Venezuela. See Pet. to

Recognize and Enforce a Foreign Arbitral Award, ECF No. 1.

            4. Because Venezuela is a foreign state, VUS sought to effect service in the manner

prescribed by the Foreign Sovereign Immunities Act (“FSIA”). See 28 U.S.C. § 1608(a); Fed. R.

Civ. P. 4(j)(1).

            5. The first method of service under 28 U.S.C. § 1608(a)(1) was unavailable because

no “special arrangement for service” exists between VUS and Venezuela.
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           6. The next prescribed method of service is “in accordance with an applicable

international convention on service of judicial documents.” 28 U.S.C. § 1608(a)(2). The United

States and Venezuela are both parties to the Convention of 15 November 1965 on the Service

Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters, Nov. 15, 1965,

20 U.S.T. 361 (the “Hague Service Convention”). Accordingly, on January 23, 2023, VUS sent

all required materials and translations to Venezuela’s Central Authority by DHL. See Pet’r’s Mot.

for Issuance of a Letter Rogatory for Service under the Inter-American Convention on Letters

Rogatory and Additional Protocol, Ex. A (DHL Tracking Results), ECF No. 7-1. However,

Venezuela’s Central Authority refused to accept the package both times that DHL attempted to

deliver the package, on January 31, 2023 and on February 15, 2023. See id.

           7. VUS then attempted to effect service of process under the Inter-American

Convention on Letters Rogatory, Jan. 30, 1975, O.A.S.T.S. No. B-36 (the “Convention”) and the

Additional Protocol to the Inter-American Convention on Letters Rogatory, May 8, 1979,

O.A.S.T.S. No. B-46 (the “Additional Protocol” and, together with the Convention, the “IACAP”),

to which the United States and Venezuela are both parties. See Mot. for Issuance of a Letter

Rogatory, ECF No. 7. On March 28, 2023, the Court granted VUS’s Motion for Issuance of a

Letter Rogatory and issued the Letter Rogatory. Min. Order, Mar. 28, 2023; Letter Rogatory,

Mar. 28, 2023, ECF No. 9. On April 4, 2023, VUS sent all required documents and translations

to ABC Legal Services, the U.S. Central Authority’s designated contractor for effecting service

under IACAP. See Notice as to Req. for Service of Process Pursuant to 28 U.S.C. § 1608(a)(4),

Ex. B (FedEx Tracking Results), ECF No. 10-2. ABC Legal Services sent the service package to

the Venezuelan Central Authority, which again refused to accept the package. See id., Ex. C

(Declaration of Karen Adams), ECF No. 10-3, ¶ 4. A Certified International Specialist from DHL



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confirmed that the package could not be delivered because the Venezuelan Central Authority is

not receiving packages originating from the United States. Id. ¶ 5. ABC Legal has also confirmed

that it has “had difficulty in getting service of process packages delivered to the Venezuelan

Central Authority in several other cases” in the past three years. Id. ¶ 6.

           8. As noted in VUS’s Notice as to Request for Service of Process Pursuant to

28 U.S.C. § 1608(a)(4), the third method of service pursuant to 28 U.S.C. § 1608(a)(3) is not

available. ECF No. 10, ¶ 5.

           9. The final method of service under the FSIA is service through diplomatic channels.

On June 29, 2023, VUS requested that the Court note VUS’s unsuccessful service attempts via

28 U.S.C. § 1608(a)(2) so that VUS may proceed with service of process pursuant to 28 U.S.C.

§ 1608(a)(4). Notice as to Req. for Service of Process Pursuant to 28 U.S.C. § 1608(a)(4), ECF

No. 10. The same day, VUS filed an Affidavit Requesting Foreign Mailing under 28 U.S.C.

§ 1608(a)(4), ECF No. 11, and a letter to the Clerk of Court requesting that the Clerk initiate

service under 28 U.S.C. § 1608(a)(4), see ECF No. 12.

           10. On June 30, 2023, the Clerk of Court dispatched two copies of the Summons,

Petition, Notice of Suit, and their Spanish translations by certified mail to the U.S. Department of

State pursuant to 28 U.S.C. § 1608(a)(4), and docketed the Certificate of Clerk indicating that the

requisite documents were sent to the U.S. Department of State for service on Venezuela through

diplomatic channels. See ECF No. 14.




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Dated: New York, New York     Respectfully submitted,
       July 6, 2023
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